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8                                  United States District Court
                                  Eastern District of Washington
9                                   Honorable Salvador Mendoza, Jr.


10   United States of America,                          No. 1:19-CR-2032-SMJ-1

11                          Plaintiff,                  Motion to Amend Due Process
                                                        Protection Act Order
12         v.

13   James Dean Cloud,                                  December 15, 2020 – 9:00 a.m.

14                          Defendant.                  Yakima – With Argument

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 1                                        I.      Introduction

2           On October 21, 2020, the Due Process Protections Act was signed into law,

 3   requiring judges to issue oral and written orders confirming not only a prosecutor’s

4    disclosure obligations under Brady 1 and its progeny, but also the consequences for

 5   violating those obligations. See Fed. R. Crim. P. 5(f) (2020); Pub. L. No. 116-182

6    (2020). Because the Act “became effective upon enactment,” the Administrative

 7   Office of the U.S. Courts advised that “all judges must immediately comply with

8    this new requirement. . . .” 2

9           In response to the DPPA, James Cloud filed a Motion to Enter Due Process

10   Protection Act Order on October 29, 3 but the Court denied it on November 2,

11   finding “[t]he Act does not apply retroactively to all criminal proceedings instituted

12   before its date of enactment.” 4

13          On November 17, a grand jury returned a Third Superseding Indictment, 5

14   triggering an arraignment on November 23 before the Honorable Mary K. Dimke. 6

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       See Brady v. Maryland, 373 U.S. 83 (1963).
     2
17     See October 26, 2020 Memorandum from James C. Duff to all United States Judges at Page 2,
     attached as Exhibit A.
     3
18     ECF No. 227 (James Cloud’s DPPA Motion).
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       ECF No. 229 (Text Order).
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19     ECF No. 242 (Third Superseding Indictment).
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       ECF No. 247 (Notice of Hearing).
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 1   Because that arraignment brought the parties together to review new charges, James

2    Cloud renewed his motion and noted it before Judge Dimke. 7

 3            Judge Dimke heard argument and granted James Cloud’s motion in part,

4    issuing a basic DPPA warning under Rule 5(f). 8 While Judge Dimke recognized the

 5   points James Cloud made in asking for a more detailed warning, Judge Dimke

6    indicated James Cloud’s concerns—since they involves discovery issues—are best

 7   addressed before the assigned District Judge.

8             With a basic DPPA warning in effect, the issue before the Court is whether

9    that warning should go beyond reminding simply reminding prosecutors to follow

10   “Brady and its progeny.” It should, and to understand why, it helps to look at the

11   Act’s legislative history, Ninth Circuit authority, Supreme Court authority, and a

12   federal prosecutors’ ethical obligations.

13                                        II.     Discussion

14   A.       A detailed DPPA warning avoids confusion.

15            Since the DPPA’s goal is to put prosecutors on notice about their disclosure

16   obligations, it makes sense to identify what those obligations are. And while a short

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19       ECF No. 248 (Renewed DPPA Motion).
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         ECF No. 263 (Judge Dimke’s Order).
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 1   statement instructing prosecutors to follow “Brady v. Maryland, 373 U.S. 83 (1963),

2    and its progeny” seems all-inclusive, it risks confusion for a few reasons:

 3            First, there’s no agreement on what “Brady and its progeny” means. For

4    better or worse, prosecutors, defense attorneys, and courts use the term “Brady” as

 5   a simplistic catch-all to describe a prosecutor’s wide-reaching obligation to disclose

6    favorable evidence. See, e.g., U.S. v. Price, 566 F.3d 900, 908 n.7 (9th Cir. 2009)

 7   (“The term ‘Brady violation’ is sometimes used to refer to any breach of the broad

8    obligation to disclose exculpatory evidence—that is, to any suppression of so-called

9    ‘Brady material’—although, strictly speaking, there is never a real ‘Brady violation’

10   unless the nondisclosure was prejudicial. We use the phrase in the former, less

11   technical sense here.”) (internal brackets and citation omitted). But the reality isn’t

12   so simple.

13            There are two standards for whether evidence is “material” [read:

14   discoverable], both falling under Brady’s wide-reaching umbrella.

15            The first is an appellate review standard, which the Supreme Court

16   introduced in Brady but spelled out in U.S. v. Bagley. 9 Under this standard, if the

17   United States fails to turn over exculpatory information before trial, then a new trial

18   must be granted only if the undisclosed evidence was “material,” meaning “there is

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         See U.S. v. Bagley, 473 U.S. 667 (1985).
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 1   a reasonable probability that, had the evidence been disclosed to the defense, the

2    result of the proceeding would have been different.” Id. at 682. That’s a high bar.

 3         The second is a pre-trial standard, which requires prosecutors to disclose

4    material evidence “without attempting to predict whether its disclosure might affect

 5   the outcome of trial,” as “it is just too difficult to analyze before trial whether

6    particular evidence will ultimately prove to be ‘material’ after trial.” U.S. v. Olsen,

 7   704 F.3d 1172, 1183 n.3 (9th Cir. 2013); see also U.S. v. Safavian, 233 F.R.D. 12, 16

8    (D.D.C. 2005) (“The prosecutor cannot be permitted to look at the case pretrial

9    through the end of the telescope an appellate court would use post-trial. Thus, the

10   government must always produce any potentially exculpatory or otherwise favorable

11   evidence without regard to how the withholding of such evidence might be viewed—

12   with the benefit of hindsight—as affecting the outcome of the trial.”). That’s a

13   lower bar.

14         The currently-issued DPPA warning does not specify which Brady

15   “materiality” standard applies, and it should, lest prosecutors mistakenly believe

16   discovery need only be turned over if there’s a reasonable probability the evidence

17   could shape the trial’s outcome. That’s a dangerously high—and incorrect—

18   standard for pretrial disclosure. There’s no harm in a DPPA warning that specifies

19   the proper “materiality” standard; it only serves to eliminate confusion.

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 1         Second, Brady birthed quite the progeny, its obligations spread over hundreds

2    of cases spanning decades. Payments to witnesses qualify as Brady material, see

 3   Bagley v. Lumpkin, 798 F.2d 1297, 1302 (9th Cir. 1986); cooperation agreements

4    qualify as Brady material, see U.S. v. Kojayan, 8 F.3d 1315, 1322 (9th Cir. 1993);

 5   impeachment evidence contained in law enforcement personnel files qualifies as

6    Brady material, see U.S. v. Henthorn, 931 F.2d 29 (9th Cir. 1991); and information

 7   criticizing a CI’s integrity qualifies as Brady material, see U.S. v. Brumel-Alvarez, 991

8    F.2d 1452, 1458 (9th Cir. 1992). These are a fraction of Brady’s offspring. With so

9    many rules spread across so many cases, there’s no harm in a DPPA warning that

10   includes all these standards in one place; it only serves to eliminate confusion.

11   B.    Congress passed the DPPA to address ongoing Brady violations.

12         The DPPA’s provenance rests on a bipartisan belief that, despite well-settled

13   case law requiring prosecutors to turn over favorable evidence, prosecutors continue

14   to “conceal” exculpatory evidence. See Congressional Proceedings, 166 Cong. Rec.

15   H4582-01, 2020 WL 5641902 (Sep. 21, 2020). To illustrate the point during floor

16   debate, lawmakers described DOJ’s high-profile failure to honor its constitutional

17   obligations during then-Senator Ted Stevens’s corruption trial, where prosecutors

18   concealed exculpatory evidence, ultimately leading to dismissal. Id.

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 1         DOJ’s misconduct wasn’t a one-off: this has been a year of extraordinary

2    Brady violations.

 3         In July 2020, the Ninth Circuit addressed Brady violations in a mortgage fraud

4    case. See U.S. v. Obagi, 965 F.3d 993 (9th Cir. 2020). During closing argument, the

 5   United States urged the jury to accept a key witness’s testimony because he had no

6    reason to lie. In reality, that witness had reasons to lie, as he was cooperating in a

 7   separate federal case with a different prosecutor from the same office. See id at 996.

8    The only reason the United States became aware of the issue was the other

9    prosecutor happened to be sitting in the courtroom during closing argument and

10   caught the misrepresentation to the jury. See id. Although the United States

11   attempted to walk back this oversight, the Ninth Circuit held “the genie was out of

12   the bottle,” reversing the conviction for a Brady violation. Id. at 998.

13         A month later, August 2020, the Ninth Circuit addressed Brady violations in a

14   high-profile case stemming from a stand-off between Cliven Bundy and the

15   government over cattle-grazing rights. See U.S. v. Bundy, 968 F.3d 1019 (9th Cir.

16   2020). After trial began, allegations surfaced the United States withheld discovery

17   central to Bundy’s defense. The district court held several evidentiary hearings on

18   the withheld discovery, ultimately finding the United States’ “Brady violations were

19   so egregious and prejudicial that the indictment needed to be dismissed with

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 1   prejudice.” Id. at 1030. The United States appealed, and the Ninth Circuit affirmed,

2    finding “the government fell well short of its obligations to work toward fairly and

 3   faithfully dispensing justice rather than simply notching another win.” Id. at 1041.

4          A month later, September 2020, the Honorable Alison Nathan addressed

 5   Brady violations in a high-profile fraud case. See U.S. v. Nejad, __ F. Supp. 3d __,

6    2020 WL 5549931 (S.D.N.Y. Sep. 16, 2020). Before, during, and after trial, the

 7   United States “made countless belated disclosures of arguably (and, in one instance,

8    admittedly) exculpatory evidence.” Id. at 1. The United States recognized its

9    failures and agreed Judge Nathan should vacate Mr. Sadr’s guilty verdict. See id.

10         What struck Judge Nathan wasn’t the United States’ willingness to dismiss

11   the case, but rather the depth of the United States’ bad-faith. During trial, the

12   United States realized it failed to turn over exculpatory material, but “[i]nstead of

13   immediately disclosing that file, Government lawyers spent almost twenty hours

14   strategizing how best to turn it over,” ultimately agreeing they should “‘bury’ the

15   evidence along with other, already-disclosed documents . . . .” Id. at 2 (emphasis

16   added). This did not sit well with Judge Nathan, as she openly ruminated how best

17   to sanction prosecutors for their admitted wrongdoing.

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 1         These three decisions (Obagi, Bundy, and Nejad), just two months apart, show

2    Congress’s concerns about prosecutors failing to disclose exculpatory material

 3   remain relevant.

4    C.    Congress passed the DPPA to provide trial courts with discipline options.

 5         Lawmakers weren’t just troubled by DOJ concealing evidence in then-Senator

6    Ted Stevens’s case; they were equally-troubled by district court’s inability to

 7   sanction prosecutors for their misconduct. The inability to sanction, lawmakers

8    noted, stemmed from the lack of a “direct written court order requiring

9    [prosecutors] to abide by their ethical and constitutional obligations to disclose

10   favorable evidence.” Congressional Proceedings, 166 Cong. Rec. H4582-01, 2020

11   WL 5641902 (Sep. 21, 2020).

12         Finding the lack of a standing Brady order troubling, lawmakers surveyed

13   federal judicial districts to determine how many employ standing Brady orders. See

14   id. They uncovered a patchwork of protections, with only 38 of 94 Federal districts

15   using local rules and standing orders to confirm prosecutors’ Brady obligations. See

16   id. This patchwork, lawmakers concluded, failed “to ensure that this practice is

17   followed across the country.” Id.

18         So they acted.

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 1    D.     Congress wants substantive DPPA warnings, not rote reminders.

2            Congress’s changes to Rule 5’s language are minor; its expectations on what a

 3    DPPA warning should contain are not. These heightened expectations surfaced

4     during floor debate, when lawmakers called attention to the District of Columbia,

 5    which folded a Brady order into the local rules in the wake of the botched Stevens

6     prosecution. The District of Columbia’s local rule (LCrR 5.1) is no rote reminder;

 7    rather, it details the United States’ disclosure obligations: 10

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19     https://www.dcd.uscourts.gov/sites/dcd/files/LocalRulesJuly_2019.pdf, last accessed on
      October 29, 2020.
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11          While the District of Columbia’s Local Criminal Rule 5.1 is a solid

12    benchmark, the DPPA order here would need to be tweaked in a few ways:

13          First, as laid out above, it would need to unmoor itself from Brady’s appellate

14    standard, which cannot guide a prosecutor’s pretrial disclosure obligations.

15          Second, it would need to capture that prosecutors’ disclosure obligations

16    apply not only to trials, but also to pre-trial and sentencing hearings as well. See, e.g.,

17    U.S. v. Gamez-Orduno, 235 F.3d 453, 461 (9th Cir. 2000) (recognizing Brady applies

18    to suppression hearings); see also Edwards v. Ayers, 542 F.3d 759, 768 (9th Cir. 2008)

19    (recognizing Brady applies to sentencing hearings).

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 1          Third, it would need to capture that, under Brady, prosecutors have “a duty

2     to learn of any favorable evidence known to the others acting on the government’s

 3    behalf in [a] case, including the police.” Strickler v. Greene, 527 U.S. 263, 280-81

4     (1999).

 5          Fourth, it would need to expand prosecutors’ disclosure obligations to

6     harmonize with Washington’s ethical rules. Federal prosecutors in the Eastern

 7    District of Washington are bound by Washington’s rules of professional conduct.

8     See 28 U.S.C. §530B(a) (“An attorney for the Government shall be subject to State

9     laws and rules, and local Federal court rules, governing attorneys in each State

10    where such attorney engages in that attorney’s duties, to the same extend and in the

11    same manner as other attorneys in that State.”). Washington’s RPC 3.8, which

12    outlines a prosecutor’s “special responsibilities,” requires prosecutors to disclose

13    information above-and-beyond Brady:

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9     With these tweaks in mind, James Cloud proposes the following language, which

10    melds the District of Columbia’s local rule with Ninth Circuit authority, Supreme

11    Court authority, and Washington’s RPCs:

12                                 Disclosure of Information

13            Unless the parties agree and where not prohibited by law, the government
      shall timely disclose to the defense all evidence or information known to the
14    government that tends to negate the guilt of the accused or mitigates the offense.

15           “Timely” means that, beginning at the defendant’s arraignment and
      continuing throughout the criminal proceeding, the government shall make
16
      good-faith efforts to disclose such information to the defense as soon as reasonably
17    possible after its existence is known, so as to enable the defense to make effective
      use of the disclosed information in the preparation of its case.
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 1          These requirements apply regardless of whether the information would itself
      constitute admissible evidence. These requirements also apply to all court
2     proceedings, including pretrial hearings, trial, and sentencing.

 3
            The information, furthermore, shall be produced in a reasonably usable form
4     unless that is impracticable; in such a circumstance, it shall be made available to the
      defense for inspection and copying.
 5
             The exculpatory information to be disclosed includes, but is not limited to,
6     the following:

 7
            1) information that is inconsistent with or tends to negate the defendant’s
8              guilt as to any element, including identification, of the offense(s) with
               which the defendant is charged;
9
            2) information that tends to mitigate the charged offense(s) or reduce the
10             potential penalty or guideline range;
11
            3) information that tends to establish an articulated and legally-cognizable
12             defense theory or recognized affirmative defense to the offense(s) with
               which the defendant is charged;
13
            4) information that casts doubt on the credibility or accuracy of any evidence,
14             including witness testimony;
15
            5) impeachment information, which includes, but it not limited to—
16
                   a. information regarding whether any promise, reward, or inducement
17                    has been given or will be given later by the government to any
                      witness;
18

19                 b. information that identifies all pending criminal cases against, and all
                      criminal convictions of, any witness, and a copy of any criminal
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 1                    record of any witness, identifying by name each such witness;

2                  c. any inconsistent statement, or a description of such a statement,
                      made orally or in writing by any witness, regarding the alleged
 3
                      criminal conduct of the defendant;
4
                   d. information reflecting bias or prejudice against the defendant by any
 5                    witness;

6                  e. a written description of any prosecutable federal offense known by
                      the government to have been committed by any witness;
 7

8                  f. a written description of any conduct that may be admissible under
                      Fed. R. Evid. 608(b) known by the government to have been
9                     committed by a witness; and

10                 g. information known to the government of any mental or physical
                      impairment of any witness whom the government anticipates calling
11
                      in its case-in-chief that may cast doubt on the ability of that witness
12                    to testify accurately or truthfully at trial as to any relevant event.

13          6) information potentially relevant to pre-trial motions, including but not
               limited to motions to suppress, dismiss, or in limine; and
14
            7) no later than the close of the defendant’s case, the government shall
15
               disclose any exculpatory information relevant to rebuttal.
16
             In the event the government believes that a disclosure under this rule would
17    compromise witness safety, victim rights, national security, a sensitive law-
      enforcement technique, or any other substantial government interest, it may apply
18
      to the Court for a modification of the requirements of this rule, which may include in
19    camera review and/or withholding or subjecting to a protective order all or part of
      the information. The government shall notify the defense of any such application.
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 1           For purposes of this rule, the government includes federal, state, and local law
      enforcement officers and other government officials who have participated in the
2     investigation and prosecution of the offense(s) with which the defendant is charged.
      The government has an obligation to seek from these sources all information subject
 3
      to disclosure under this Rule.
4
            If the government fails to comply with this rule, the Court, in addition to
 5    ordering production of the information, may:

6           (1) specify the terms and conditions of such production;
            (2) grant a continuance;
 7
            (3) impose evidentiary sanctions;
8           (4) enter any other order that is just under the circumstances.

9                                         III.    Conclusion

10          Congress did not enact the Due Process Protection Act so courts could enter

11    gentle Brady reminders that have no effect. No, the Act reflects the need for courts

12    to detail not only what those obligations entail, but also the consequences when

13    those obligations aren’t followed—particularly in light of Obagi, Bundy, and Nejad.

14          And while a simple DPPA warning (i.e., follow Brady and its progeny) is a

15    place to start, it makes more sense (and is more fair) to give prosecutors specific

16    notice on what their obligations entail.

17          Because James Cloud’s request is reasonable, supported by law, and timely,

18    he respectfully asks the Court to enter an Order consistent with the above-proposed

19

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 1    language. Doing so doesn’t harm the Court or the United States; it simply ensures

2     all parties are on the same page.

 3    Dated: November 26, 2020.

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8
                                          Service Certificate
9
           I certify that on November 26, 2020, I electronically filed the foregoing
10
      with the Clerk of the Court using the CM/ECF System, which will notify
11
      Assistant United States Attorneys: Thomas J. Hanlon and Richard Burson.
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